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Al Youngs
5552 W Lakeridge Rd
Lakewood, CO 80227

September 1 - September 30, 2019
Invoice #4
Member of Federal Monitor Team

The following is a detailed statement of the hours worked.

Sunday, September 22, 2019 through Friday, September 27, 2019 site visit to Puerto
Rico

Saturday, September 21, and Sunday, September,22 2019 — Prepared for Monitor Team meeting
and meetings with the parties.

Monday, September 23, 2019 — Discussion with the Monitor Team members reference:
Methodology, Worksheet/Checklist Document Request and other pertinent issues.

Tuesday, September 24, through Thursday, September 26, 2019 - Meetings with USDOJ, McV,
Special Master, and Monitor Team at PRPB, reference: Information Technology, Civilian
Complaints, Community Engagement, and Equal Protection Methodologies.

Presentation by Juan Carlos Rivera and Angel Diaz, PRPB to the Reform Office, McV legal team,
USDOJ, Special Master (via conference call), acting Federal Monitor, and Monitor Team
outlining management assessment of the Bureau Technologies ability to comply with the IT
Methodology and to produce data for analysis for the upcoming monitoring period and to discuss
and finalize Civilian Complaints, Community Engagement and Equal Protection Methodologies.
Meeting in chambers with Honorable Judge Gustavo Gelpi reference past weekly events.

Friday, September 27, 2019 253 Meeting with USDOJ, PRPB, McV, and members of the

Monitor Team
Total Hours for the above 48 Hrs.

Reviewed and responded to emails for the month of September from members of the Monitor
Team and Special Master. 8 hours

Reviewed and gave input to the FTO Policy and FTO Manual 5 hours

Conference calls with the Monitor Team to discuss FTO Policy and FTO

Manual. 2 hours

Reviewed Final Draft of approved Matrices involving Civilian Complaints, Community
Engagement, and Equal Protection Methodologies. 3 hours

Reviewed and shared information from Colombia National Police and Dominican Republic National

Police with the parties. 3 hours

Reviewed and shared information reference: PERF recruitment document, Training
and Supervision instruments and worksheets utilized by other agencies under consent
decree including Baltimore, Albuquerque, New Orleans, and Los Angeles Police

Departments. 3 hours
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TOTAL HOURS: 72 HOURS

BILLABLE HOURS 64 HOURS AT RATE OF $150 PER HOUR = $9600

PRO BONO 8 HOURS
Travel Expenses
e Airfare $569.80
e Hotel $691.50
Total Expenses $1261.30
Travel Reimbursement $1000.00
(Pro Bono Expenses) $261.30
TOTAL WAGES AND EXPENSE REIMBURSEMENT $10,100

I hereby certify that the amount billed in this invoice is true and correct and responds to
the number of hours worked in my capacity as a Member of the Federal Monitor Team.
I further certify that I have not received any income, compensation, or payment for
services rendered under a regular employment or contractual relationship with the
Commonwealth, or any of its departments, municipalities or agencies.

Signaturd | t 9/29/2019
Date

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COURTYARD®
Marriott.

Mr Alan Youngs

5552 W Lakeridge Rd
Lakewood CO 80227

United States

Courtyard by Marriott
San Juan - Miramar
guest.service@courtyard.com

801 Ponce de Leon Ave.
San Juan, PR. 00907

T 787.721.7400

F 787.723.0068

Room: 0907
Room Type: EKNG
No. of Guests: 1

Rate: $ 115.00 Clerk: 1006

Marriott Rewards # 119330892 CRS Number 87465578

Name:

Arrive: 09-22-19 Time: 23:00 . Depart: 09-27-19
Date Description Charges
09-22-19 Package 115.00
09-22-19 Govemment Tax 10.35
09-22-19 Hotel Fea 10:35
09-23-4 9 COMEDOR- Guest Charge (Breakfest) - 3.00
09-23-19 Package 118.00
09-23-19 Government Tax 10.35
03-23-19 Hotel Fee 10.35
09-24-19 | Comedor - Guest Charge ~ 3.00
09-24-19 Package 115.00
09-24-19 Govemment Tax 40.35
09-24-19 Hote! Fee 10.35
09-25-19 Comedor - Guest Charge 3.00 .
09-25-19 Package 115.00
09-25-19 Govemment Tax 10.35
09-25-19 Hotel Fee 10.35
09-26-19 Comedor - Guest Charge . , _ 4.00
09-26-1 9 Package 4 15.00

09-26-19 Government Tax 10.35
09-26-19 Hotel Fee 10.35
09-27-18 Visa Card

Card # XOOXOCKXXXKXXK6E933

Folio Number: 615989

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Credits

691.50

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Past Flight

Sep 22

Denver, CO to San Juan, PR
Confirmation # VWVW7706E

PASSENGER

ALAN YOUNGS

RR 207895671

ROUTING DA

DEN to SJU 9/22/2019

POINTS EARNED

FARE TYPE

Wanna Get Away

Total

Total points earned

https://www.southwest.com/myaccounvtrips/past/pricing/details?confirmationNumber=W7706E

FARE TOTAL

5564.20

$531.00

Ww
